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 Natman Schaye
 SBN: 007095
 Arizona Capital Representation Project
 25 South Grande Avenue
 Tucson, AZ 85745
 (520) 229-8550
 Email: natman@azcapitalproject.org

 David A. Lane (pro hac vice application to be submitted)
 Reid Allison (pro hac vice application to be submitted)
 Killmer, Lane & Newman, LLP
 1543 Champa Street
 Denver, Colorado 80202
 Telephone: 303-571-1000
 Email: dlane@kln-law.com
 Email: rallison@kln-law.com

 Attorneys for Plaintiff


                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF ARIZONA



 Frank Jarvis Atwood,                           No.: CV20-00623-PHX-JAT (JZB)

                    Plaintiff,
                                                PLAINTIFF’S MOTION FOR
 v.                                             TEMPORARY RESTRAINING
                                                ORDER AND PRELIMINARY
 Panaan Days; et al.,                           INJUNCTION
                    Defendants.

                                                (ORAL ARGUMENT REQUESTED)




       Pursuant to Federal Rule of Civil Procedure 65, Plaintiff respectfully moves for a

temporary restraining order and preliminary injunction ordering Defendants and their

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agents to provide Mr. Atwood vitally necessary pain medication, immediate housing to a

residency setting where hands-on wheelchair transferring assistance is available at all

times, and an immediate evaluation by an orthopedic specialist to determine available

surgical options that could treat and improve his condition. Without this order, Mr.

Atwood will continue to suffer constant, severe pain as his spinal condition deteriorates

and leaves him all but utterly immobile.

                                     BACKGROUND

       Frank Atwood suffers from a degenerative spinal condition. Defendants know this.

For over a decade, the severe pain he suffers has been treated, effectively, with Tramadol.

Despite that well-established record of effectiveness, Defendants have decided to

discontinue Mr. Atwood’s prescription, leaving him in constant, needless pain.

       Indeed, this Court has previously stressed that “there is no meaningful dispute that

[Mr. Atwood] suffers from severe spinal pain, a serious medical condition.” [Doc. 87] at

9. Moreover, “there is also no dispute that Plaintiff has tried various other medications to

alleviate his pain, all of which were discontinued as ineffective or causing adverse side

effects.” Id.

       Mr. Atwood “clearly experiences” “severe pain and discomfort” daily. Id. at 10.

This severe pain is currently untreated with effective medication. Instead, Defendants

have insisted on giving Mr. Atwood lesser medication that they know is not effective in

palliating his constant, severe pain. Defendants have the means to meaningfully reduce

Mr. Atwood’s pain, they know that their current course simply does not do so, and yet

they refuse to continue Mr. Atwood’s longstanding pain management prescription. This

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is “unnecessary and wanton infliction of pain,” and it violates Mr. Atwood’s Eighth

Amendment rights. Whitley v. Albers, 475 U.S. 312, 319 (1986).1

       This Court is Mr. Atwood’s only recourse and hope of ever again receiving

medical care that can properly manage and lessen his constant severe pain and

meaningfully consider orthopedic treatment. Defendants have staked out a position

refusing to provide Mr. Atwood with the necessary medication that they are well aware

has lessened his pain in the past and have insisted on providing medication that they

know is not effective to manage his pain. Without correction from this Court ordering

Defendants to meet the baseline constitutional standard, Defendants will continue to

refuse Mr. Atwood the medication and treatment that he needs, and he will continue to

suffer unnecessary serious pain.

                                   MEDICAL EXPERT

       Board-Certified Orthopedic Surgeon Philip A. Davidson, M.D. has reviewed Mr.

Atwood’s relevant medical records and has had multiple telephonic evaluations with him.

See Ex. 1, Davidson Dec. ¶ 1. In Dr. Davidson’s expert opinion, Mr. Atwood’s extensive

medical records “reflect[] that the patient’s medical needs are not being met and his care

is being denied.” Id. ¶ 10.



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  Defendants’ ostensible reason for ending Mr. Atwood’s Tramadol prescription—that it
is contraindicated by Plaintiff’s age and other medical conditions—is grotesque.
Defendants and their cohort are hellbent on killing Mr. Atwood within the year, as the
Attorney General himself has personally expressed in television interviews; however,
they insist that he spend that time in constant, severe pain ostensibly because there is
some small possibility that the Tramadol he has taken for years will shorten his life
expectancy.

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       “Mr. Atwood has severe cervical spondylosis with severe radicular symptoms to

include, of great importance, C5-C6 myelomalacia. He has apparently overt radicular

symptomatology as well as radiating pain, weakness, and motor dysfunction.” Id. ¶ 37.

Because of his condition, Mr. Atwood suffers “marked pain in the mid low-back region”

that is a “9 out of 10 increasing to 10 out of 10 with certain activities, such as turning to

get out of bed.” Id. ¶ 16. He also suffers “radiating pain shooting into [his right] leg”

which “extends through his buttock and upper leg at a strength of about 7 out of 10.” Id.

Mr. Atwood is confined to a wheelchair, with such weakness in his lower body that he

cannot stand; he uses his hands and upper body to transfer from his chair to bed, though

doing so “causes him excruciating pain.” Id. ¶ 17. His efforts to simply sit erect in his

wheelchair “subject him to substantial, debilitating pain.” Id. ¶ 19.

       Defendants have known of Mr. Atwood’s condition and its accompanying

constant, severe pain for over a decade. Between 2011 and September 2020, Mr.

Atwood’s pain was treated effectively with a prescription for Tramadol. Id. ¶ 20.

However, in September 2020, Defendants arbitrarily ended this prescription; to this day,

Mr. Atwood is only provided medications that Defendants are aware do not treat his back

condition nor lessen his pain. Id. ¶ 20. This change in medication has left Mr. Atwood to

suffer “constant pain,” that he can only feebly attempt to lessen by “continually

maintain[ing] a seated posture, either slouching in his wheelchair or partially reclining on

his back, in bed while attempting to sleep.” Id. ¶ 23. “Since Fall 2020, he has experienced

too much pain to sleep either on his side or his back. Lying flat on his back severely



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exacerbates his conditions, causing maximum pain. He is only able to sleep

sporadically.” Id.

       In January 2021, Mr. Atwood began suffering an extreme case of diarrhea, which

worsened his severe back pain and caused spasms. Id. ¶ 25. Around January 18, 2021, a

stool sample revealed that Mr. Atwood had been suffering a staph infection for around

ten days. Id ¶ 26. After this terrible experience, Defendant Olmstead evaluated Mr.

Atwood and discussed with him further treatment, including neurosurgical evaluation, as

well as pain management options. Id. ¶ 27. However, to this point, neither a surgical

evaluation nor effective pain medication has been provided. Id.

       In April, May, and early June of this year, Mr. Atwood underwent multiple

surgeries to treat serious kidney stones. Id. ¶¶ 28-33. In early May, while housed in the

prison infirmary under the care of Dr. Mahn, he was prescribed (again) Tramadol to

manage his severe back pain and other discomfort. Id. ¶ 30. However, by early June—

once Mr. Atwood returned from the prison infirmary to the Browning Unit, under the

care of Defendant Olmstead—Defendants again discontinued Mr. Atwood’s Tramadol

prescription, and Mr. Atwood has experienced “resumption of severe pain (a 9 or 10) and

significant decrease in his ability to transfer to and from his wheelchair.” Id. ¶ 34.

Similarly, his ability to sleep is compromised in the same manner that it has been since

the previous discontinuation of his Tramadol prescription in Fall 2020. Id.

       In light of Mr. Atwood’s ongoing constant pain and his deteriorating back

condition, Dr. Davidson insists that “[a]t this point in time, further treatment and

evaluation are medically necessary and appropriate, and urgently needed.” Id. ¶ 39. In

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particular, “Mr. Atwood needs to be seen immediately by an interventional pain specialist

to ascertain whether fluoroscopically-guided injections such as epidural steroid injections

would potentially provide some symptom relief from his basic, resting positions.” Id. ¶

40. Moreover, the Browning Unit personnel’s repeated decisions to eliminate Tramadol

from Mr. Atwood’s prescriptions (after he was given it for years and enjoyed effective

pain management) “is expected to return Mr. Atwood’s pain to an intolerable level.” Id. ¶

41. Therefore, “[a] prescribed moderate dose of Tramadol should be sustained.” Id.

       In addition to urgently needed effective pain management, Mr. Atwood is in

serious need of “surgical consultation with an orthopedic spine surgeon or neurosurgeon

to ascertain and clarify his surgical options.” Id. ¶¶ 42-43. Mr. Atwood is “an appropriate

surgical candidate” and “surgical intervention is likely necessary to address the

underlying causes of his chronic pain.” Id. ¶ 43. Finally, in Dr. Davidson’s “professional

opinion … it is imperative and humane that additional, palliative measures also be

implemented on this patient’s behalf immediately. These include lumbar and cervical

orthosis, along with a residency setting where immediate hands-on wheelchair

transferring assistance is continually available.” Id. ¶ 44.

                                        ARGUMENT

       Ordinarily, “[a] plaintiff seeking a preliminary injunction must establish that he is

likely to succeed on the merits, that he is likely to suffer irreparable harm in the absence

of preliminary relief, that the balance of equities tips in his favor, and that an injunction is

in the public interest.” See Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 20

(2008). Where “the balance of hardships tips sharply in the plaintiff’s favor,” the plaintiff

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need only “demonstrate[] . . . that serious questions going to the merits were raised” to

satisfy the merits prong of the analysis and justify an injunction. Alliance of the Wild

Rockies v. Cottrell, 632 F.3d 1127, 1134-35 (9th Cir. 2011).2 Mr. Atwood must be

granted a temporary restraining order and/or preliminary injunction because his Eighth

Amendment rights are being violated, as he is left to suffer constant severe pain while

Defendants provide him with “medical care” that they know does not lessen his pain or

treat his deteriorating condition.

I.     Plaintiff Is Likely to Succeed on the Merits of His Eighth Amendment Claim
       of Deliberate Indifference to His Serious Medical Needs.

       The Eighth Amendment “embodies broad and idealistic concepts of dignity,

civilized standards, humanity, and decency.” Estelle v. Gamble, 429 U.S. 97, 102, 97 S.

Ct. 285, 50 L. Ed. 2d 251 (1976) (internal quotation omitted). The Amendment proscribes

the “unnecessary and wanton infliction of pain,” including deliberate indifference by state

officials to the medical needs of prisoners. Id. at 104.

       Courts employ a two-part test in evaluating Eighth Amendment deliberate

indifference claims: a plaintiff must satisfy “both an objective standard—that the

deprivation was serious enough to constitute cruel and unusual punishment—and a

subjective standard—deliberate indifference.” Colwell v. Bannister, 763 F.3d 1060, 1066

(9th Cir. 2014) (internal quotation omitted). The objective component examines whether



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  “The standard for issuing a TRO is the same as that for issuing a preliminary
injunction.” Shakur v. Ryan, No. CIV 14-2318-TUC-CKJ, 2015 U.S. Dist. LEXIS
114628, at *21 (D. Ariz. Aug. 25, 2015).


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the plaintiff has a “serious medical need,” such that the state’s failure to provide

treatment could result in further injury or cause unnecessary and wanton infliction of

pain. Jett v. Penner, 439 F.3d 1091, 1096 (9th Cir. 2006). Serious medical needs include

those “that a reasonable doctor or patient would find important and worthy of comment

or treatment; the presence of a medical condition that significantly affects an individual's

daily activities; or the existence of chronic and substantial pain.” Colwell, 763 F.3d at

1066 (internal quotation omitted).

       Mr. Atwood clearly suffers from a serious medical need, as already recognized by

this Court. [Doc. 87] at 9 (“[a]s to the merits, there is no meaningful dispute that Plaintiff

suffers from severe spinal pain, a serious medical condition.”). Without proper treatment

and medical pain management, Mr. Atwood’s constant, unnecessary and substantial pain

satisfies the objective prong of the deliberate indifference analysis. Jett, 439 F.3d at 1096;

Colwell, 763 F.3d at 1066; see also Cintron v. Dir., Cal. Dep't of Corr., No. 1:11-CV-

00496-MJS (PC), 2012 U.S. Dist. LEXIS 11064, at *10-11 (E.D. Cal. Jan. 30, 2012)

(“Plaintiff’s allegations of a traumatic spinal injury, corrective surgery, and continuing

severe and constant pain, taken as true for purposes of screening, demonstrate a serious

medical need, satisfying the first prong of his deliberate indifference claim.”).

       “[T]he subjective element considers the defendant’s state of mind, the extent of

care provided, and whether the plaintiff was harmed.” Almy v. Baca, No. 3:17-cv-00224-

MMD-CBC, 2019 U.S. Dist. LEXIS 228505, at *18-20 (D. Nev. Oct. 23, 2019). “This

second prong . . . is satisfied by showing (a) a purposeful act or failure to respond to a

prisoner’s pain or possible medical need and (b) harm caused by the indifference.” Jett,

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439 F.3d at 1096. “Prison officials are deliberately indifferent to a prisoner's serious

medical needs when they deny, delay, or intentionally interfere with medical

treatment.” Hallett v. Morgan, 296 F.3d 732, 744 (9th Cir. 2002) (internal quotation

omitted). “The state of mind required for deliberate indifference is subjective

recklessness; however, ‘the standard is less stringent in cases involving a prisoner’s

medical needs . . . because the State’s responsibility to provide inmates with medical care

ordinarily does not conflict with competing administrative concerns.’” Shaka v. Ryan,

No. CV 10-2253-PHX-SMM (BSB), 2015 U.S. Dist. LEXIS 26284, at *19-21 (D. Ariz.

Mar. 4, 2015) (quoting McGuckin, 974 F.2d at 1060). Whether a defendant had sufficient

knowledge of a substantial risk of harm is a question of fact, and a fact finder may

conclude that a defendant knew of a substantial risk based on the fact that the risk was

obvious. Farmer v. Brennan, 511 U.S. 825, 842, 114 S. Ct. 1970, 128 L. Ed. 2d 811

(1994). “[D]eliberate indifference may be shown by a purposeful act or failure to respond

to a prisoner's pain or possible medical need.” Shaka, No. CV 10-2253-PHX-SMM

(BSB), 2015 U.S. Dist. LEXIS 26284, at *19-21.

       Mr. Atwood has established a likelihood of success on the subjective prong of the

deliberate indifference standard. Defendants have made ongoing purposeful acts to refuse

to respond to Mr. Atwood’s known pain and medical condition. Defendants know of his

constant substantial pain, they know that this pain has been managed with some efficacy

for years by a prescription for Tramadol, and they know that the lesser drugs they now

provide Mr. Atwood do not alleviate his pain. Additionally, Mr. Atwood experiences

incomprehensible pain whenever transferring to his wheelchair, he has suffered falls

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without transferring assistance, and he has had to crawl across the floor in Browning Unit

when unable to access his wheelchair. See Ex. 1, ¶¶ 19, 22, 25. These conditions,

including a fundamental lack of wheelchair transferring assistance, are an extreme

departure from those that have been deemed medically necessary when Mr. Atwood has

been housed in the infirmary. Id.

       Knowing all this, Defendants have refused to provide Mr. Atwood necessary

medication, leaving him in constant pain. Defendants’ course of treatment is medically

unacceptable (per both Dr. Davidson’s declaration as well as Defendants’ own years of

experience providing medical care for Mr. Atwood) and Defendants chose and have

maintained this course “in conscious disregard of an excessive risk to the plaintiff’s

health.” Edmo v. Corizon, Inc., 935 F.3d 757, 786 (9th Cir. 2019).

       In a similar case, a District Court in this circuit found a likelihood of success on

the merits of a deliberate indifference claim, where a plaintiff inmate suffered “a

complicated, painful, degenerative orthopedic condition.” McNearney v. Wash. Dep't of

Corr., No. C11-5930 RBL/KLS, 2012 U.S. Dist. LEXIS 115802, at *33 (W.D. Wash.

June 15, 2012). The Defendants were aware of this condition and the medical necessity of

further evaluation of surgical options, as in this case. Id. at 33-39. However, like

Defendants in this case, they merely provided over-the-counter and/or ineffective pain

relief medication and refused orthopedic evaluation to determine if further treatment was

medically necessary. Id. The Court determined that such a course of treatment could be

found “medically unacceptable under the circumstances” and Defendants had shown

“conscious disregard of an excessive risk to Plaintiff’s health.” Id. at 38.

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       For the same reasons, Mr. Atwood has shown a likelihood of success on the

merits. “Just because [defendants] have provided [a prisoner] with some treatment

consistent with the [] Standards of Care, it does not follow that they have necessarily

provided her with constitutionally adequate treatment.” Norsworthy v. Beard, 87 F. Supp.

3d 1164, 1187 (N.D. Cal. 2015) (citing De’lonta v. Johnson, 708 F.3d 520, 526 (4th Cir.

2013) (emphasis in original); Fields v. Smith, 653 F.3d 550, 556 (7th Cir. 2011); Ortiz v.

City of Imperial, 884 F.2d 1312, 1314 (9th Cir. 1989) (a plaintiff alleging deliberate

medical indifference “need not prove complete failure to treat”).

       The Fourth Circuit has explained this concept by analogy to a hypothetical

circumstance like Mr. Atwood’s actual predicament:

       imagine that prison officials prescribe a painkiller to an inmate who has
       suffered a serious injury from a fall, but that the inmate’s symptoms,
       despite the medication, persist to the point that he now, by all objective
       measure, requires evaluation for surgery. Would prison officials then be
       free to deny him consideration for surgery, immunized from constitutional
       suit by the fact that they were giving him a painkiller? We think not.
       Accordingly, although . . . a prisoner does not enjoy a constitutional right to
       the treatment of his or her choice, the treatment a prison facility does
       provide must nevertheless be adequate to address the prisoner's serious
       medical need.

Norsworthy, 87 F. Supp. 3d at 1187 (quoting De’Lonta, 708 F.3d at 526).

       In light of the above, Mr. Atwood is likely to succeed on the merits of his

deliberate indifference claim. At the very least, his presentation and medical expert’s

declaration establish “serious questions going to the merits” of his claim to satisfy the

merits prong of the analysis and justify an injunction. Alliance of the Wild Rockies, 632

F.3d at 1134-35.


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II.    Plaintiff Is Suffering Ongoing, Irreparable Harm, and the Balance of Equities
       Favors Ordering Defendants to Provide Medical Care.

       Mr. Atwood is suffering ongoing, irreparable harm. As this Court has already

noted—see [Doc. 87] at 9-11—Mr. Atwood is suffering daily severe pain. This pain is

ongoing and will continue so long as Defendants (1) refuse him the pain medication that

they know (based on approximately a decade’s experience) is effective in treating his

pain and (2) refuse him bed-to-wheelchair transferring assistance. This untreated,

unnecessary pain constitutes ongoing, irreparable harm for purposes of the preliminary

injunction analysis. See, e.g., Severson v. Igbinosa, No. 1:10-cv-02217-AWI-GBC PC,

2011 U.S. Dist. LEXIS 5702, at *14-15 (E.D. Cal. Jan. 19, 2011). And, “[t]he physical

pain and suffering that Plaintiff would endure from being deprived of his medication,

when balanced with the expense of providing Plaintiff with appropriate medication, [and

rehousing to a unit that provides wheelchair transferring assistance] tips the equities in

Plaintiff's favor.” Id.

       “When adjudicating a preliminary injunction motion, the Ninth Circuit expects

lower courts to protect physical harm to an individual over” other considerations, such as

monetary costs to government entities. Rosado v. Alameida, 349 F. Supp. 2d 1340, 1348

(S.D. Cal. 2004) (citing Harris v. Bd. of Supervisors, 366 F.3d 754, 766 (9th Cir. 2004)

(“faced with [] a conflict between financial concerns and preventable human suffering,

[the court has] little difficulty concluding that the balance of hardships tips decidedly in

plaintiffs’ favor.”) and Rodde v. Bonta, 357 F.3d 988, 999 (9th Cir. 2003) (affirming

preliminary injunction in favor of disabled plaintiffs challenging the county’s decision to


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close specialty medical facility; balance of hardships tipped in favor of plaintiffs, who

would be deprived of necessary treatment and suffer increased pain and medical

complications)).

       Ultimately, “the deprivation of [Mr. Atwood’s] constitutional rights under the

Eighth Amendment is itself sufficient to establish irreparable harm.” Norsworthy v.

Beard, 87 F. Supp. 3d 1164, 1193 (N.D. Cal. 2015) (citing Elrod v. Burns, 427 U.S. 347,

373, 96 S. Ct. 2673, 49 L. Ed. 2d 547 (1976) (“The loss of First Amendment freedoms,

for even minimal periods of time, unquestionably constitutes irreparable injury.”); Nelson

v. Nat’l Aeronautics & Space Admin, 530 F.3d 865, 882 (9th Cir. 2008), rev’d on other

grounds, 562 U.S. 134, 131 S. Ct. 746, 178 L. Ed. 2d 667 (2011) (“Unlike monetary

injuries, constitutional violations cannot be adequately remedied through damages and

therefore generally constitute irreparable harm.”); Fyock v. City of Sunnyvale, 25 F. Supp.

3d 1267, 1282 (N.D. Cal. 2014) (“Irreparable harm is presumed if plaintiffs are likely to

succeed on the merits because a deprivation of constitutional rights always constitutes

irreparable harm.”)).

       Mr. Atwood is currently suffering constant, severe pain. Defendants do not appear

to dispute this, and this Court has already noted it as fact. See [Doc. 87] at 9-11. Mr.

Atwood’s medical history makes clear that Tramadol is effective in helping to manage

the pain he suffers due to his condition, and Defendants know this. Id. Even so,

Defendants have refused him this necessary medication for approximately nine months.

Simply put, it is no hardship whatsoever for Defendants to provide Mr. Atwood the

medication they know he needs to lessen his pain and the basic orthopedic treatment that

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could specify appropriate surgical intervention. The balance of equities overwhelmingly

favors alleviating Mr. Atwood’s pain, through means that are known and immediately

available to Defendants and which Defendants had for years provided without incident or

hardship. See Winter v. NRDC, Inc., 555 U.S. 7, 24 (2008) (holding that courts “must

balance the competing claims of injury and must consider the effect on each party of the

granting or withholding of the requested relief.”).

III.    An Injunction Serves the Public Interest.

        Finally, a temporary restraining order and injunction ordering medical care for Mr.

Atwood is in the public interest. The Ninth Circuit has made clear that “it is always in the

public interest to prevent the violation of a party’s constitutional rights.” De Jesus Ortega

Melendres v. Arpiao, 695 F.3d 990, 1002 (9th Cir. 2012). Indeed, “perhaps no greater

public interest exists than protecting a citizen’s rights under the constitution.” Legal Aid

Soc’y of Hawaii v. Legal Services Corp., 961 F. Supp. 1402, 1409 (D. Haw. 1997).

Among the vitally important constitutional rights, “[t]he public has a strong interest in the

provision of constitutionally-adequate health care to prisoners.” McNearney v. Wash.

Dep't of Corr., No. C11-5930 RBL/KLS, 2012 U.S. Dist. LEXIS 115802, at *44 (W.D.

Wash. June 15, 2012) (quoting Flynn v. Doyle, 630 F. Supp. 2d 987, 993 (E.D. Wis.

2009); see also Farnam v. Walker, 593 F. Supp. 2d 1000, 1017 (C.D. Ill. 2009) (holding

that public had an interest in the maintenance of prisoner’s health during the pendency of

the lawsuit); Duran v. Anaya, 642 F. Supp. 510, 527 (D.N.M. 1986) (“The public at large

is not served by . . . the willful or wanton infliction of pain and suffering on prisoners.”).



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       Simply put, “[t]here is no public interest in forcing [Mr. Atwood] to continue

suffering unnecessary pain during the pendency of this litigation. The public interest

favors a preliminary injunction requiring that Defendants comply with the Eighth

Amendment by providing further evaluation and treatment.” McNearney, 2012 U.S. Dist.

LEXIS 115802, at *44. Because Mr. Atwood satisfies each prong of the preliminary

injunction standard, this Court must order Defendants to provide him the basic medical

care that Defendants know and have known that he needs to avert constant, severe pain.

                                     CONCLUSION

       The Court should enter a temporary restraining order and preliminary injunction

ordering Defendants, their officers, agents, servants, employees, and attorneys, and those

persons in active concert or participation with them to provide Mr. Atwood (1) the

necessary pain medication to treat his constant severe pain, (2) rehousing to a unit that

has wheelchair transferring assistance available at all times, and (3) an orthopedic

surgeon to evaluate him for possible surgical intervention to treat and improve his spinal

condition.

       Dated this 22nd day of June 2021.



                             /s/ Natman Schaye
                            Natman Schaye

                            Natman Schaye
                            David A. Lane
                            Reid Allison
                            Attorneys for Plaintiff



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                                 Certificate of Service

I hereby certify that on June 22, 2021, I electronically filed the foregoing Motion for
Temporary Restraining Order and Preliminary Injunction with the Clerk’s Office by
using the CM/ECF system. I certify that all participants in the case are registered
CM/ECF users and that service will be accomplished by the CM/ECF system.


s/Evan Davis
Paralegal
Arizona Capital Representation Project




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                          Exhibit 1
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                                                    Pursuant to 28 U.S.C. § 1746 (2).

                DECLARATION OF PHILIP A. DAVIDSON, M.D.

I, Philip A. Davidson, MD, declare and state as follows:

1.   I am a Board-Certified Orthopedic Surgeon and a member of Davidson

     Orthopedics and the Utah Orthopedic Spine & Injury Center in Salt Lake

     City. I have evaluated Mr. Frank Atwood telephonically and reviewed

     records related to his current condition, and I offer the observations and

     conclusions set forth below.

2.   In addition to my work with Davidson Orthopedics and the Utah Orthopedic

     Spine & Injury Center, I am a member of the staffs of Park City Medical

     Center, Salt Lake Regional Medical Center, LDS Hospital, and Alta View

     Hospital, and in 2015, I founded Davidson Orthopedics in Salt Lake City.

3.   I am a graduate of Harvard University, B.A., Magna cum Laude, Biology and

     Comparative Anatomy in 1983. I earned my Doctor of Medicine degree, with

     Honors in Research, from Cornell University Medical College in 1987.

4.   In 1992, I completed Orthopedic Residency Training with the Baylor College

     of Medicine and, in 1993, held a Sports Medicine Fellowship with the

     Kerlan-Jobe Orthopedic Clinic.

5.   Previously, I served on the affiliated faculty of the University of South Florida

     and successfully developed a large full service Orthopedic Clinic. I have

     served on FDA panels to evaluate the safety of Osteoarthritis treatments. I



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                                                                             _______
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     have taught many courses to surgeons in the field of Cartilage Restoration

     and Joint Resurfacing and published many scientific articles in the

     orthopedic literature on topics ranging from non-surgical treatments for

     Knee Osteoarthritis to Resurfacing Surgery of the Shoulder. I have served in

     the US Naval Reserve as a LCDR in the Medical Corps.

6.   I am an official consultant of Major League Baseball, and The National

     Football League, having been jointly appointed by the players and owners of

     the leagues.

7.   For the past two decades, I have been acknowledged as one of the nation’s

     foremost orthopedists treating articular cartilage disorders. My particular

     area of clinical and academic interest is in the field of biologic and anatomic

     joint resurfacing. I have been acknowledged by the orthopedic community

     as a surgical innovator and clinical researcher, publishing extensively and

     teaching surgeons both nationally and internationally.

8.   Before relocating my practice to Utah, where I co-founded Heiden-Davidson

     Orthopedics with Drs. Eric and Karen Heiden in 2008, I practiced in Tampa

     Bay, Florida for 15 years as a widely recognized Orthopedic Surgeon

     specializing in sports medicine. Since 2015 I have been practicing in

     Davidson Orthopedics and serving as Medical Director of the Utah

     Orthopedic Spine & Injury Center. I am actively licensed to practice

     medicine in the states of Wyoming, Utah and Washington. I have formerly




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     been licensed in the states of California and Texas. I am Board Certified by

     the American Board of Orthopedic Surgery.

9.   Mr. Frank Atwood is a 65-year-old man who has been referred for me to

     review his medical records as well as to evaluate by telephone. Mr. Atwood

     is incarcerated.

10. I have reviewed hundreds of pages of assorted medically related

     correspondences, grievances, and medical records pertaining to the

     medical case and care of Mr. Frank Atwood produced to his attorneys from

     Arizona’s corrections department. This series of documents reflects that the

     patient’s medical needs are not being met and his care is being denied.

     Records appear to cover decades. These include physical therapy notes

     regarding Mr. Atwood’s spine. Many notes pertain to his health issues

     outside of orthopedics.

11. On March 25, 2021, I conducted a telephonic consultation with Mr. Atwood.

     I conducted an additional telephonic consultation with Mr. Atwood on June

     7, 2021.

12. This patient’s chief issues center on neck pain, back pain, radicular

     symptoms and weakness referrable to cervical and lumbar pathologies.

     Based upon my interviews with Mr. Atwood, it is this examiner’s opinion that

     he has an uncanny recollection of details and dates which appears to be

     highly accurate. His insights provide great detail into his past medical history

     and the series of events pertaining to his health history.


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13. Mr. Atwood takes medications for a duodenal ulcer and hypertension. His

    past medical history is positive for hepatitis C with stage IV cirrhosis and he

    reports a 3 cm lesion in his liver. He has had a history of prostate issues

    but denies cancer. He denies having diabetes. Previous surgical history

    includes gallbladder resection, cataract surgery, knee surgery, and cervical

    fusion as described above.



HISTORY OF PRESENT ILLNESS:

14. Mr. Atwood reports foremost about his back and related back pain. He

    describes the pain as having begun in approximately 1990 and being

    treated over the past 30-plus years with oral medications. He states that he

    has never had fluoroscopically-guided injections into the lumbar region. He

    has had no surgery on his lumbar region.

15. Records reflect Mr. Atwood has recently had several intramuscular

    injections of Toradol (between 15 mg and 30 mg), an anti-inflammatory, on

    various days in January 2021. Further, Mr. Atwood reports receiving a

    corticosteroid intramuscularly in his arm (circa February 2021) that he states

    provided some relief of back pain for a couple of weeks. This injection was

    performed about 2-3 weeks prior to my first phone consultation with him. At

    that time, the benefits were wearing off.

16. Mr. Atwood states that he has marked pain in the mid low-back region which

    is dull and nonspecific in nature. He states that the pain is a 9 out of 10


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     increasing to 10 out of 10 with certain activities, such as turning to get out of

     bed. In addition to the localized back pain, which is his worst complaint, he

     also feels radiating pain shooting into the leg, right side more than left. He

     states that the radiating pain extends through his buttock and upper leg at a

     strength of about 7 out of 10. In the right leg, he states the pain is a big

     problem but he is also bothered by marked weakness. He experiences a

     sensation of numbness in his foot and marked swelling in the foot. He feels

     and reports that the swelling is so great in his feet that he has difficulty

     wearing shoes.

17. Mr. Atwood reports weakness in his lower extremities to the extent that his

     legs will not support him to stand. He describes that he last walked in May

     2017. Now, he describes principally using his hands and upper extremities

     to transfer from bed to wheelchair, but the transferring causes him

     excruciating pain. He was issued in the remote past a series of exercises

     and stretching, but these are now too painful for him to perform. He

     experiences numbness and swelling in the left lower extremity down to his

     foot. His weakness is approximately equal, right and left.

18. Mr. Atwood reports a long history of neck pain and cervical radiculopathies

     beginning in about 2003. He was subsequently evaluated and treated,

     having a cervical fusion at C5-C6 in December 2018 that provided him with

     some decreased weakness and limited pain relief. His neck pain and the

     dysfunction in his upper extremities is progressively worsening over the past


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     several years since the surgery. He describes numbness in both of his

     hands and has difficulty performing simple activities such as just holding a

     pen, stating that he drops things and has distinct difficulty with numbness

     more so than weakness in the bilateral upper extremities. The pain in his

     upper extremities he states is approximately equal right and left. It is worse

     above the elbows, bilaterally extending principally to the area around the

     shoulders in the middle of his back and what sounds like the region of his

     scapulae. He describes the pain as “burning and constricting,” radiating into

     his upper arms and shoulders. The pain is an 8 or 9 out of 10 on a constant

     basis.

19. In asking Mr. Atwood to somehow provide insight to the level of pain that he

     is experiencing, he states, “I experience incomprehensible pain every time I

     need to transfer to bed, chair or wheelchair.” Furthermore, he states that he

     presently feels “incredibly weak” and where he had previously participated

     in sporting activities, now, for a number of years, he has been unable to

     walk and even has difficulty sitting erect. He reports that efforts to sit erect

     are increasingly challenging and subject him to substantial, debilitating pain.

20. Mr. Atwood reports having been treated with Tramadol from 2011 until

     September 2020, when Nurse Practitioner Olmstead discontinued its use for

     his pain relief. In October 2020, Mr. Atwood was prescribed a lidocaine

     patch and Tylenol. Despite providing no appreciable pain relief, this has

     continued as his treatment until the present, with only some variances in the


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     Tylenol prescription and dosages and, crucially, a departure from this

     regimen while Mr. Atwood was placed in the prison complex’s infirmary, as

     described below (¶ 30).

21. Between around October 1, 2020 and May 5, 2021 (when he was admitted

     to the prison’s infirmary), Mr. Atwood lacked access to a shower and was

     reduced to bathing himself in the sink of his cell. He describes that he has

     been afflicted recently with abrasions and/or bed sores on his buttocks.

22. Mr. Atwood also relates a recent history of falling, secondary to weakness in

     his legs. He relates a fall in November of 2020 when he hit his face and

     knocked himself out. He suffered a similar fall in March 2021. He is

     markedly limited in his capacity to transfer, stating that within the confines of

     his cell, he has had to crawl to the door rather than walk or transfer to his

     wheelchair.

23. Mr. Atwood suffers constant pain. In order to minimize its severity, he seeks

     to continually maintain a seated posture, either slouching in his wheelchair

     or partially reclining on his back, in bed while attempting to sleep. This

     general condition causes considerable sleeping difficulties. Since Fall 2020,

     he has experienced too much pain to sleep either on his side or his back.

     Lying flat on his back severely exacerbates his conditions, causing

     maximum pain. He is only able to sleep sporadically, by positioning himself

     partially upright, propped up with blankets.




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24. On January 8, 2021, MRI scans were conducted of Mr. Atwood, which are

    identified below (¶¶ 28-32).

25. On or around the next day, January 9, 2021, Mr. Atwood began suffering an

    extreme case of diarrhea, which he reported to Nurse Practitioner

    Olmstead, a care provider at his prison housing unit (Browning Unit in the

    Arizona State Prison Complex-Eyman). By January 13, 2021, this condition

    extremely intensified his back pain and caused spasms. Mr. Atwood was

    unable to leave his bed or roll onto his side for nearly a week. In order to

    accept meals and medication, he crawled or slid across his cell’s urine and

    feces-smeared floor resulting from the prison’s inattention to his condition.

    By the time his cell, clothing, and linens were given attention on or around

    January 19, 2021, Mr. Atwood reports that all were soiled.

26. On or around January 18, 2021, Nurse Practitioner Olmstead took a stool

    sample from Mr. Atwood in response to his diarrhea. It was determined that

    he had been suffering a staph infection for about ten days prior to its

    diagnosis and treatment. During this period, Mr. Atwood reports having

    been backboarded and gurneyed to the health unit within his prison unit

    (Browning) on four separate dates between January 13 and 18.

27. On February 8, 2021, Nurse Practitioner Olmstead evaluated Mr. Atwood

    wherein she discussed potential further treatment that could include epidural

    steroid injections, further evaluation of effective pain management

    medication, and a neurosurgical consultation. Mr. Atwood reports that a Dr.


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    Stewart, a physician affiliated with Centurion, the prison health care

    provider, denied this surgical consultation and declined to otherwise offer a

    treatment plan for his pain and its underlying causes. To date, the patient

    has not had any neurosurgical consultations subsequent to the above-

    referenced MRI scans.

28. Mr. Atwood has an extensive history of kidney stones. On April 21, 2021,

    Mr. Atwood was ambulanced with a 103.2° temperature to a hospital

    emergency room outside the prison. Mr. Atwood reports that an emergency

    room physician diagnosed him with untreated kidney and urinary tract

    infections. Further, this neglect had caused severe sepsis. In the ensuing

    weeks he was treated with antibiotics intravenously and orally.

29. Mr. Atwood was further diagnosed with kidney stones, which were causing

    the complete obstruction of his kidneys, and was initially treated, over the

    course of about a week, with two surgical procedures concerning a

    nephrostomy on his right side. At around this time, Mr. Atwood was suffering

    atrial fibrillation, for which he reports he also underwent a procedure under

    sedation, though the details of this are not yet known. He was later returned

    to the infirmary in the Central Unit of the Arizona State Prison Complex-

    Florence.

30. On or around May 3, 2021, a Dr. Mahn, the Medical Director of the ASPC-

    Florence infirmary, prescribed twice daily doses of Tramadol to address Mr.




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     Atwood’s severe back pain and other discomfort. He was also prescribed

     Tylenol with Codeine (No.4) twice daily.

31. At the beginning of June, the nephrostomy was removed after a lithotripsy

     procedure to address the kidney stones.

32. On June 2, 2021, Mr. Atwood underwent a third kidney surgery during this

     brief period. On his return to the infirmary from that procedure, he fell and

     injured his elbow.

33. On June 4, 2021, Mr. Atwood was moved from the infirmary at the Central

     Unit back to the Browning Unit. Mr. Atwood reports that on that same day,

     Nurse Practitioner Olmstead discontinued the Tylenol with Codeine (No. 4)

     prescription, replacing it with No. 3. Nurse Practitioner Olmstead also

     adjusted Mr. Atwood’s Tramadol prescription, reducing the daily dose from

     twice to once with the intention of weaning him completely.

34. In addition, during his initial days back at the Browning Unit, Mr. Atwood did

     not receive any Tramadol doses. Mr. Atwood reports the resumption of

     severe pain (a nine or ten) and significant decrease in his ability to transfer

     to and from his wheelchair. His sleeping is even more compromised as a

     result of this change in treatment and circumstances.



IMAGING STUDIES:

35. I have reviewed Mr. Atwood’s cervical MRI scan of January 8, 2021.

     Findings include:


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        C2-C3 moderate canal stenosis with bilateral mild foraminal stenoses;

        C3-C4 moderate canal stenosis with bilateral severe foraminal stenoses;

        C4-C5 fusion with mild canal stenosis and bilateral severe foraminal

        stenoses;

        C5-C6 surgical fusion with punctate myelomalacia of the cervical cord

        and bilateral severe foraminal stenoses;

        C6-C7 moderate canal stenosis with bilateral severe foraminal stenoses;

        C7-T1 patent canal with bilateral severe foraminal stenoses.

36. I have reviewed the lumbar MRI scan from the same date (Jan. 8), and

    findings include:

        T12-L1 mild right-sided foraminal stenosis;

        L1-L2 moderate bilateral foraminal stenoses;

        L2-L3 mild right-sided, severe left-sided foraminal stenoses;

        L3-L4 severe bilateral foraminal stenoses with bilateral L3

        encroachment;

        L4-L5 severe bilateral foraminal stenoses;

        L5-S1 severe right-sided, moderate left-sided foraminal stenoses with

        bilateral L5 neural encroachment.



IMPRESSONS:

37. Mr. Atwood has severe cervical spondylosis with severe radicular symptoms

    to include, of great importance, C5-C6 myelomalacia. He has apparently


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     overt radicular symptomatology as well as radiating pain, weakness, and

     motor dysfunction.

38. His lumbar spine problem is his most painful condition. He has advanced

     lumbar spondylosis with overt radiculopathies. His neural symptomatology

     has contributed to the weakness that is limiting his ability to transfer and

     position, let alone ambulate. In addition, the neural compression and

     degenerative spondylosis are highly painful, most acutely when prone or in

     an erect seated posture.

39. At this point in time, further treatment and evaluation are medically

     necessary and appropriate, and urgently needed.

40. Mr. Atwood needs to be seen immediately by an interventional pain

     specialist to ascertain whether fluoroscopically-guided injections such as

     epidural steroid injections would potentially provide some symptom relief

     from his basic, resting positions. Mr. Atwood has received Tramadol in the

     past and presently is being weaned of its use after his return to his housing

     unit (Browning Unit), from the Florence Complex’s infirmary, where he was

     treated for the above-outlined kidney problems in April through early June

     2021.

41. Before Mr. Atwood’s admission to the prison infirmary in April, for months he

     had been denied Tramadol in the Browning Unit despite its prior

     effectiveness and its lack of side-effects over the span of many years.

     Currently, his Browning Unit care provider is eliminating Tramadol from Mr.


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     Atwood’s pain management. This is expected to return Mr. Atwood’s pain to

     an intolerable level, as described above (¶ 23). A prescribed moderate dose

     of Tramadol should be sustained.

42. It is expected that such treatments could assist to lower Mr. Atwood’s high

     pain levels but would not meaningfully address his most acute problems

     stemming from the above-listed physical positioning. The foregoing

     palliative measures would not resolve the underlying orthopedic cause of

     the pain.

43. Critically, Mr. Atwood needs a surgical consultation with an orthopedic spine

     surgeon or neurosurgeon to ascertain and clarify his surgical options. He is

     an appropriate surgical candidate but I defer suggesting the exact surgical

     plan to a surgeon who would evaluate him in person, as well as review the

     foregoing imaging. However, surgical intervention is likely necessary to

     address the underlying causes of his chronic pain.

44. In addition to the curative interventions suggested above, it is my

     professional opinion that it is imperative and humane that additional,

     palliative measures also be implemented on this patient’s behalf

     immediately. These include lumbar and cervical orthosis, along with a

     residency setting where immediate hands-on wheelchair transferring

     assistance is continually available.




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45. If further information is required, I am available to provide more insights and

     opinions on this case. Additionally, the opinions rendered above could be

     updated pending receipt of further information or data.



I declare under penalty of perjury that the foregoing is true and correct. 28 U.S.C.

§ 1746 (2).

       Executed this 21st day of June, 2021, in Salt Lake City, Utah.




Philip A. Davidson, MD
Board Certified Orthopedic Surgeon




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